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 1                               NATION BABIES

 2                            By Jack Da Jrippa

 3

 4                        I'll be home in a minute

 5            I told my boys they'd come home in a minute

 6            I told my niggas we'll be home in a minute

 7                 We've got ghetto angels in the sky

 8                        So we'll be win it, luv

 9                     I've got niggas in the caves

10                     And I'm gonna bring 'em home

11                  And even though the ops the same

12                         We still killing stone

13                      Yo dog you're smoking sane

14                           Call it drill mode

15                       Blackout that beater gang

16                            We like the mafia

17                           Yo, I'm black nigga

18                     Whip gang caught with the D

19                They should give me a fucking Oscar

20                       No talking on the phone

21                   You bring your face to meet me

22          My nigga, safe to state in every play a TV.

23          Jack so deep in his thoughts he in his own bed

24                     Double faded shots of henny

25                           Take a double toke


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 1          It's a celebration and my niggas do the mos'

 2        If a nigga slap ass, then we gonna burn his ass

 3                       Chase him down with my CJ

 4                       And we gonna honk his ass

 5                      Niggas gossip like bitches

 6                        And bitches move around

 7                   They take money of all involve'

 8                      Niggas gossip like bitches

 9                        And bitches move around

10       I know you boys right now, you know, fucking around

11          Think about all the shit we have been through

12                   You know, all the gang banging

13                Free Fry, A.J. Bobbitt, Bobby Dingam

14     Hey, luv.     If they mad about these bands or that I'm

15                                 focused?

16           Remember reaching my hand, you niggas folded

17           'Member callin' their jam, your lips told it

18                               Time was hot

19              I really couldn't call on you, niggas

20           I took chances in my life and now I'm way up

21                 Round, round 2K, so don't play us

22        I lost Ceno so you know I got to make it happen

23                                  tomorrow

24       And I probably still could see Lil' Ceno laughing

25                        We still nation babies


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 1                   They know how we fucking profit

 2     All we know is money, money bringing fucking problems

 3       Remember working, form a line, like the drive-thru

 4                Was heart to heart with them niggas

 5                        And then they switch up

 6        Niggas lay with their bitches and talk about me

 7      Like how you lay with some pussy and think about me

 8     Like money brought me some power and now you hate me

 9       Like money got me this power and now they hate me

10                                Street nigga

11                           I never been in shit

12                         And I'm a street nigga

13                      So I can't trust the bitch

14                        No feelings for a bitch

15                               I fuck a body

16                      Break the bing out a Chevy

17                               Not your body

18                                Street nigga

19                         Free style, free style

20                          You're in my thoughts
21

22

23

24

25


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